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                       IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                   :   CRIMINAL NO. ___________

               v.                           :   DATE FILED: ___________

 ANTHONY CINTRON                            :   VIOLATIONS:
                                                21 U.S.C. § 841(a)(1), (b)(1)(C) (possession
                                            :   with the intent to distribute cocaine base
                                                (“crack”) – 1 count)
                                            :   18 U.S.C. § 924(c)(1)(A) (possession of a
                                                firearm in furtherance of a drug trafficking
                                            :   crime – 1 count)
                                                18 U.S.C. § 922(o) (possession of a
                                            :   machinegun – 1 count)
                                                Notice of forfeiture

                                       INFORMATION

                                         COUNT ONE

THE UNITED STATES ATTORNEY CHARGES THAT:

              On or about March 17, 2021, in Philadelphia, in the Eastern District of

Pennsylvania, defendant

                                    ANTHONY CINTRON

knowingly and intentionally possessed with the intent to distribute a mixture and substance

containing a detectable amount of cocaine base (“crack”), a Schedule II controlled substance.

              In violation of Title 21, United States Code, Section 841(a)(1), (b)(1)(C).
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                                          COUNT TWO

THE UNITED STATES ATTORNEY FURTHER CHARGES THAT:

               On or about March 17, 2021, in Philadelphia, in the Eastern District of

Pennsylvania, defendant

                                      ANTHONY CINTRON

knowingly possessed a firearm, that is, at least one of the following: (1) an FN 57, 5.7 mm pistol,

bearing serial number 386395940, loaded with 10 live rounds of ammunition; and (2) a Glock

model 19, 9 mm pistol, bearing serial number BCBA749, loaded with 30 live rounds of

ammunition; in furtherance of a drug trafficking crime for which he may be prosecuted in a court

of the United States, that is possession with intent to distribute a controlled substance, in

violation of Title 21, United States Code, Section 841(a)(1), (b)(1)(C), as charged in Count One

of this information.

               In violation of Title 18, United States Code, Section 924(c)(1)(A).




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                                         COUNT THREE

THE UNITED STATES ATTORNEY FURTHER CHARGES THAT:

                 On or about March 17, 2021, in Philadelphia, in the Eastern District of

Pennsylvania, defendant

                                      ANTHONY CINTRON

knowingly possessed a machinegun, as defined by Title 18, United States Code, Section

921(a)(23), and Title 26, United States Code, Section 5845(b), that is, a machinegun conversion

device designed and intended for use in converting a semiautomatic Glock pistol to fire

automatically.

                 In violation of Title 18, United States Code, Section 922(o).




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                                  NOTICE OF FORFEITURE

THE UNITED STATES ATTORNEY FURTHER CHARGES THAT:

               1.      As a result of the violations of Title 21, United States Code, Section

841(a)(1), (b)(1)(C), Title 18, United States Code, Section 924(c), and Title 18, United States

Code, Section 922(o) set forth in this information, defendant

                                     ANTHONY CINTRON

shall forfeit to the United States of America any property constituting, or derived from, proceeds

obtained, directly or indirectly, from the commission of the violation of Title 21, United States

Code, Section 841(a)(1), (b)(1)(C), any property used or intended to be used, in any manner or

part, to commit, or to facilitate the commission of, the violation of Title 21, United States Code,

Section 841(a)(1), (b)(1)(C), and all firearms and ammunition involved in the commission of the

violations of Title 18, United States Code, Section 924(c) and Title 18, United States Code,

Section 922(o), including, but not limited to:

                       (1) An FN 57, 5.7 mm pistol, bearing serial number 386395940:

                       (2) Ten live rounds of 5.7 ammunition;

                       (3) A Glock model 19, 9 mm pistol, bearing serial number BCBA749;

                       (4) Thirty live rounds of 9 mm ammunition;

                       (5) A Glock 23, .40 caliber pistol, bearing serial number VSS686,
                           equipped with a machinegun conversion device designed and intended
                           for use in converting a semiautomatic Glock pistol to fire
                           automatically; and

                       (6) Twenty-one live rounds of .40 caliber ammunition.

               2.      If any of the property subject to forfeiture, as a result of any act or

omission of the defendant:

                       (1)     cannot be located upon the exercise of due diligence;

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                       (2)     has been transferred or sold to, or deposited with, a third party;

                       (3)     has been placed beyond the jurisdiction of the Court;

                       (4)     has been substantially diminished in value; or

                       (5)     has been commingled with other property which cannot be divided

                               without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), to

seek forfeiture of any other property of the defendant up to the value of the property subject to

forfeiture.

                All pursuant to Title 28, United States Code, Section 2461(c), Title 18, United

States Code, Section 924(d), and Title 21, United States Code, Section 853.




                                                      _________________________________for
                                                      JENNIFER ARBITTIER WILLIAMS
                                                      Acting United States Attorney




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               No._ _ _ _ _ _ _ _ _ _
               UNITED STATES DISTRICT COURT

                                         Eastern District of Pennsylvania

                                                    Criminal Division
                             THE UNITED STATES OF AMERICA
                                                                       vs.

                                                     ANTHONY CINTRON

                                                     INFORMATION

                                                  Counts
21 U.S.C. § 841(a)(1), (b)(1)(C) (possession with the intent to distribute cocaine base (“crack”) –
                                              1 count)
 18 U.S.C. § 924(c)(1)(A) (possession of a firearm in furtherance of a drug trafficking crime – 1
                                               count)
                    18 U.S.C. § 922(o) (possession of a machinegun – 1 count)
                                        Notice of forfeiture

                                                             A true bill.
                                      _____________________________________________________________________
                                                             Foreman
                          Filed in open court this _________________________________day,
                                Of ________________________A.D. 20_____________
                            __________________________________________________________________________________________
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                                                               Clerk
                                                 Bail, $___________________________
